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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

BILLIE CLARK, on behalf of
Himself and those similarly situated,          :
                                               :          CASE NO. 1:20-cv-00295-DRC
               Plaintiff,                      :
                                               :          JUDGE Douglas R. Cole
         vs.                                   :
                                               :
                                               :
Miller Valentine Partners Ltd II, et al.       :
                                               :
               Defendants.                     :

                            STIPULATED ORDER OF MISJOINDER

         Pursuant to Rules 21 and 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiffs

and Defendant Miller-Valentine Partners Ltd. II hereby stipulate as to the misjoinder of Defendant

Miller-Valentine Partners Ltd. II in this action.

         Accordingly, IT IS HEREBY ORDERED THAT Miller-Valentine Partners Ltd. II is

dismissed as a defendant in this action, without prejudice.

         IT IS SO ORDERED.


Dated:
                                                          The Honorable Douglas R. Cole
                                                          United States District Judge




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       HAVE SEEN AND AGREE:

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Counsel for Plaintiffs




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                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was filed electronically on this

6th day of July 2020, with the Clerk of Court using the CM/ECF system and notice of this filing

will be sent electronically to all attorneys of record by operation of the Court’s electronic filing

system.



                                                      /s/ Lauren S. Kuley__________________
                                                      Lauren S. Kuley (0089764)
                                                      Counsel for Defendant Miller-Valentine
                                                      Partners Ltd II




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